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                                                        April 21, 2025
Via ECF
Honorable Michael E. Farbiarz
United States District Judge
U.S. Post Office & Courthouse
Federal Square
Newark, New Jersey 07101
        Re:     Khalil v. Trump, et al., No. 2:25-cv-1963 (MEF) (MAH)
Dear Judge Farbiarz,
        Petitioner writes to notify the Court that his wife has given birth. The first letter Petitioner
filed on April 20, 2025, ECF No. 203 may be published on the public docket. The second letter,
ECF No. 204, contains e-mail addresses of counsel, ICE employees, and Petitioner’s A-number.
Petitioner includes a redacted copy of ECF No. 204, and in accordance with Local Rule 5.3(c)(2),
will shortly file a motion to seal for ECF No. 204.
                                                        Respectfully submitted,
                                                        ____/s/_________________________
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